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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

    UNITED STATES OF AMERICA,

         Plaintiff,

    v.                                                   Case No.: SA-23-CR-00620-XR

    JANET YAMANAKA MELLO,

         Defendant.


                       GOVERNMENT’S SENTENCING MEMORANDUM

         COMES NOW the United States of America by and through the United States Attorney

for the Western District of Texas and the undersigned Assistant United States Attorney and

submits to the Court this Sentencing Memorandum. The Government requests that the Court

sentence Defendant, Janet Yamanaka Mello, to a sentence of imprisonment of 235 months, which

constitutes an upward variance from the Guideline range as calculated by the Government.1

Additionally, the Government requests the Court order restitution in an amount agreed upon by

the parties, a money judgment as agreed by the parties, and forfeiture as agreed by the parties and

any term of supervised release recommended by Probation. In support, the Government shows as

follows:

                                              INTRODUCTION

         Over the course of six years, the Defendant stole nearly $109 million dollars that was

meant to care for and comfort the children of military service members stationed through the world.

She did this by betraying the credibility and trust she had accumulated through many years as a


1
  The Government has included an objection to the PSR in this Memorandum. 210 months constitutes the high-end
of the Guideline range as calculated by the Government if the objection is sustained. Therefore, the Government is
requesting a variance of 25 months for a total of 235 months.
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civilian Army employee. She then took the money she stole and, along with her husband, embarked

on a years-long shopping spree in which they accumulated millions of dollars in real estate, jewelry

and vehicles. A sentence of 235 months is more than appropriate under these circumstances.

                                        BACKGROUND

       The 4-H Military Partnership Grant was a program wherein 4-H, the United States

Department of Agriculture, and U.S. Army Child, Youth and School (CYS) Services worked

together to provide meaningful youth development opportunities for military-connected children.

The partnership was funded by the Army, Navy and Air Force. Kansas State University

administered the grant program through 4-H Military Liaisons and land-grant universities in each

state. The faculty and staff at these land grant universities provided training and curriculum to

military partners who would then help military-connected youth engage in 4-H projects. The

entities trained by these universities were eligible to receive grant funds for the purpose of

executing the kinds of experiences envisioned by the 4-H program.

       For many years, the Defendant worked for the U.S. Army Installation Management

Command (IMCOM) at Fort Sam Houston in San Antonio, Texas as a CYS Financial Program

Manager. Part of her job as a Financial Program Manager was to determine whether 4-H Military

Partnership Grant program funds were available for the various entities that applied. Once the

Defendant determined grant funds were available, her supervisor would approve the awarding of

the funds to the applicant entity. The award package, which included a memo signed by the

Defendant indicating funds were available, was then sent to the Defense Financial Accounting

Service (DFAS) with instructions to issue a check to the applicant entity in the amount specified

in the award package. DFAS would then mail the check to the entity per the shipping instructions

in the memo.


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       In or around December 2016, the Defendant formed a business she called Child Health and

Youth Lifelong Development (CHYLD). However, CHYLD was not an actual business. It was a

figment of the Defendant’s imagination that she used to steal money she believed she somehow

deserved more than the military connected families for whom it was intended. The Defendant used

her position as a CYS Financial Program Manager to steal the money, and, the Defendant, like any

common criminal, spent the stolen money extravagantly, purchasing millions in high-end jewelry,

clothing, vehicles, and real estate.

       As with many criminals, she betrayed those closest to her in the process. Using her years

of experience, expert knowledge of the grant program, and accumulated trust within IMCOM, the

Defendant drafted fraudulent memoranda indicating CHYLD was approved to receive grant funds

under the 4-H Military Partnership Grant program and that grant funds were available. While many

of these memos were submitted to the Defendant’s supervisor for approval, there were several

instances where the Defendant forged her supervisor’s digital signature and then submitted the

award package to DFAS directly. When she did not forge her supervisor’s signature, the Defendant

took advantage of the trust she had developed over the years with her supervisors and co-workers

to secure the necessary approvals. After either receiving the necessary approvals or forging the

necessary signatures, the paperwork was then passed on to DFAS for payment. No one ever

questioned the submission of the payment requests because the Defendant was seen as a subject

matter expert within her office.

       Based on the Defendant’s lies contained within these memoranda, DFAS sent the checks

in the amounts requested to a UPS Store mailbox in San Antonio. The mailbox was rented by the

Defendant. Once the check was received, the Defendant would deposit the check into a bank

account she owned and controlled. The Defendant then spent the money on clothing, jewelry,


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vehicles, and real estate. All in all, the Defendant went through this process over forty times during

a six-year period, stealing nearly $109 million in the process. The military families who were

actually meant to benefit from this money got nothing.

       In addition to her extravagant spending, the Defendant lied on her taxes, failing to claim as

income the nearly $109 million she stole. This resulted in a tax loss of over $31 million.

       Based on these facts, and for the reasons set forth below, the Government now requests the

Court sustain its objection to the calculation of the Guideline range in the PSR and impose a

sentence of imprisonment of 235 months, in addition to the restitution, money judgment, and

forfeiture agreed upon by the parties and any term of supervised release recommended by

Probation.

                                      LEGAL AUTHORITY

   A. Objections to the PSR

       On June 11, 2024, Probation made the initial draft of the PSR available to the parties. On

June 12, 2024, the Government submitted to Probation a proposed change to the PSR. While the

final PSR has not been produced to the parties to date, counsel for the Government was informed

on July 16, 2024 that the PSR would not be amended to incorporate the Government’s proposed

change and that the proposed change would be submitted to the Court as an objection. On July 16,

2024, counsel for the Government sent the same proposed change to counsel for the Defendant.

For the reasons set forth below, the offense level calculation in the PSR does not account for

additional Specific Offense Characteristics, the Government’s objection should be sustained, and

the Guideline range should be calculated at 168 to 210 months.



   1. Application of § 2B1.1(b)(9)(A)


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       The Government objects to the non-application of Guideline Section 2B1.1(b)(9)(A). (See

PSR at ¶55-80.) Section 2B1.1(b)(9)(A) allows for a two-level increase as a result of any

misrepresentations made by the Defendant indicating she was acting on behalf of a government

agency or educational organization. Here, it is undisputed that the Defendant represented in the

memos sent to DFAS that she was acting on behalf of the U.S. Army, IMCOM G9, when, in reality,

she was acting on her own behalf. An example of one of these memos is included here:




       Additionally, the Defendant also represented that CHYLD was an educational

organization. The memo provided above includes language indicating CHYLD was to be paid

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based on a statement of work for “School” related services, which indicates the Defendant

represented CHYLD was an educational organization. Based on the foregoing, the Government’s

objection should be sustained and an additional two levels should be added.

   2. Government’s Guideline Calculation

       Should the Court sustain the Government’s objection, the Government calculates the

Defendant’s Guideline range on the Mail Fraud charges as follows:

 Base Offense Level                                    7                 2B1.1(a)(1)
 Intended Loss - $117 Million                         +24                2B1.1(b)(1)(M)
 Acting on Behalf of Government                       +2                 2B1.1(b)(9)(A)
 Agency or Educational Organization
 Sophisticated Means                                   +2                2B1.1(b)(10)(C)
 Use of Authentication Feature                         +2                2B1.1(b)(11)(C)(i)
 Position of Public Trust                              +2                3B1.3
 Zero Point Offender                                   -2                4C1.1

 Total                                                 37
 CRIM HIST                                              I
 Suggested Sentence without                      37/I (210-262)
 Acceptance
 Suggested Sentence with                         34/I (151-188)
 Acceptance



       If the Court sustains the Government’s objection, an offense level increase according to

3D1.4 applies. The offense level for the Mail Fraud charges prior to the application of Section

4C1.1 and credit for Acceptance of Responsibility is 39. This is only seven levels more than the

offense level for the Tax charges (32). (PSR ¶72.) Therefore, one unit is added for the Mail Fraud

group and an additional half unit is added for the Tax group. U.S.S.G. § 3D1.4(a), (b). As a result,

one additional offense level is added, resulting in a total offense level of 40. With the Zero-Point-

Offender deduction and Acceptance of Responsibility, the offense level is reduced to 35, and the

Guideline range is 168 to 210 months.

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   B. 18 U.S.C. § 3553(a) FACTORS

       In determining a sentence, courts are required to consider the factors set forth in Title 18,

United States Code, Section 3553(a). While the Court should consider all of the factors, three of

the factors are particularly important in this case: (1) “the nature and circumstances of the offense;”

(2) the need “to reflect the seriousness of the offense” and deter similar criminal conduct; and (3)

the avoidance of sentencing disparities between this Defendant and other similarly situated

defendants. 18 U.S.C. § 3553(a)(1, 2, 6).

       Because the Sentencing Guidelines are advisory, courts can impose a sentence outside the

advisory Guideline range if a variance is supported by careful consideration of the Section 3533(a)

factors. 18 U.S.C. § 3553(b)(1); United States v. Booker, 543 U.S. 220, 246 (2005); Gall v. United

States, 552 U.S. 38, 51 (2007). The Supreme Court has explicitly rejected the idea that the

sentencing court must base any variance on “extraordinary circumstances” or rote mathematical

calculations. Gall, 552 U.S. at 47. Based on proper consideration of the 3553(a) factors as

discussed more fully below, a variance above the calculated guideline range is appropriate. The

Sentencing Guidelines do not properly account for multiple aggravating circumstances presented

in this case, including the duration of this fraud, the betrayal of trust committed by the Defendant,

and the shocking way in which the money, originally meant for the children of American soldiers,

was spent. See 18 U.S.C. § 3553(b)(1).

       Therefore, the Government requests the Court order Defendant to serve a sentence of

imprisonment of 235 months, which amounts to 25-month increase to the high-end of the

calculated Guideline range.



   1. Nature and Circumstances of the Offense


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               i.      The Scheme

       On its face, it may seem the scheme perpetrated by the Defendant over six years was largely

the product of lackadaisical behavior and poor practices within the bureaucracy that is the United

States military. While there were certainly vulnerabilities baked into the operational structure at

IMCOM and problems with the way in which DFAS audited payments to contractors, to say the

loss here is due to bureaucratic shortfalls is an oversimplification at best and is overtly dishonest

at worst. The reality is that this scheme was the product of careful planning by the Defendant

accompanied by the betrayal of the years of trust she had accumulated with her supervisors and

co-workers at IMCOM. Indeed, more than one person told agents the Defendant was the subject-

matter expert when it came to the distribution of funds to CYS contractors. According to the PSR,

the Defendant’s 2014 performance evaluation indicated “[The Defendant] serves as the primary

individual to handle all budget concerns and payments for CYS.” (PSR at ¶109)

       She took the trust she had earned through her years with IMCOM and used it to satisfy her

own selfish desires. Like any common criminal, she took this accumulated trust and subject-matter

expertise and used it to manufacture for herself the life she wanted, the life she thought she

deserved.

       The process for securing payment from DFAS for a particular CYS contractor required

the compiling of a packet of information. Many of the documents in the packet required the

signature of supervisors. Additionally, the final memorandum for the packet authorizing the

distribution of the funds to the contractor required the signature of the Defendant’s supervisor.

By way of example, the memo associated with Count 5 of the Information is included below.




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       For several of the memos submitted to DFAS, the Defendant, without authorization, copied

her supervisor’s digital signature from a legitimate document and pasted it on to the fraudulent

memo. The time stamps associated with the signatures show that the signature on the memo

authorizing payment to CHYLD was fraudulent. As shown below, the legitimate document and

the fraudulent Count 5 memo were ostensibly signed at the exact same hour, minute and second:

November 16, 2022 at 13:29:04. However, it is impossible to sign two documents with a digital

signature at the exact same second. This proves the signature on the memo in Count 5 was

fraudulently pasted onto the Count 5 memo by the Defendant.



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              Legitimate Signature                             Fraudulent Signature




       Moreover, during an interview with agents in December 2023, Suzanne King told agents

that she never included both a hand-written signature and digital signature on documents she

signed. This further confirms the signature on the Count 5 memo was fake. Additional fraudulent

signatures were placed on various documents by the Defendant to facilitate this fraud.

       In addition to the fraudulent signatures, from the beginning, the Defendant took steps to

make CHYLD look like a legitimate operation. On December 15, 2016, she filed an Assumed

Name Certificate in Bexar County. The certificate indicated she was operating as a sole

proprietorship and doing business as CHYLD. This was just two days after she submitted her first

fraudulent payment request of $1.4 million to DFAS. Additionally, she listed her address as a UPS

Store P.O. box and, when asked on the certificate for her residential address she indicated “same,”

another false representation. The use of a P.O. box was just another step taken by the Defendant

to make her scheme appear to be on the up and up.




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       After that initial submission in December 2016 and after receiving the first check from

DFAS on or about January 5, 2017, the Defendant opened “Business” accounts at Wells Fargo.

In so doing, the Defendant tried to make it appear to the bank CHYLD was an actual business.

The Defendant did the same in opening Bank of America accounts for CHYLD in August 2017.

       Even as late as June 2023, the Defendant was taking steps to further conceal her illegal

activity. Since the Defendant initiated her scheme in December 2016, the Defendant “operated” as

a sole proprietorship, doing business as CHYLD. In June 2023, she made a change. In an attempt

to make her scheme appear legitimate, the Defendant registered Child Health and Youth Lifelong

Learning (CHYLD), LLC with the state of Texas.

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       Mello also attempted to conceal her wrongdoing in the filing of her taxes. In 2017, despite

receiving nearly $18 million in fraudulently procured funds, the Defendant claimed business

income of $483 on her tax return. She also falsely claimed to be a “Training consultant.” In

subsequent years, she claimed no business income at all. Again, she was consistently and

consciously concealing her illegal activity.


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         Finally, in August 2023, agents executed a search warrant at the Fossil Forest home

wherein they found much of the jewelry and many of the vehicles purchased by the Defendant.

During the search, the Defendant agreed to a consensual interview with agents. Initially, the

Defendant denied any affiliation with CHYLD other than being the point of contact for the vendor.

However, when agents confronted her with evidence that she owned and controlled CHYLD, she

admitted to the fraudulent nature of the scheme. Even while agents were searching her home, the

Defendant was still trying to conceal her involvement. She only admitted her wrongdoing and

began to cooperate with authorities after she was confronted with overwhelming evidence of her

guilt.

         This was thoughtful. This was planned. This was not, “Well, nobody is looking. Let’s see

what happens.” The nature and circumstances of this offense show that the Defendant was not

simply acting out of her grief. The nature and circumstances of this offense show this crime was

not the result of holes in a bureaucratic system. This crime was a product of six years of careful

execution and calculated steps the Defendant took to conceal her theft. A sentence of 235 months

is appropriate.

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               ii.     Defendant’s Spending

       An additional pertinent consideration regarding the nature and circumstances of this

offense is the way in which the money was spent. As noted above, the Defendant spent the money

she stole on various items, including jewelry, vehicles, and real estate. Included below are some

examples of her extravagant spending.

Real Property

       The Defendant and her husband bought at least thirty-one pieces of real estate across the

country. The current estimated value of the Mellos’ real estate portfolio is $23 million. In addition

to building a multi-million-dollar property in the San Antonio area, the MELLOs purchased multi-

million-dollar properties in Denver, CO, Preston, MD and Canyon Lake, TX.

                                  28860 Verde Mountain Trial




       In April and May 2017, just a few months after initiating the fraud scheme, the Defendant

and her husband purchased a fourteen-acre lot and the neighboring five-acre lot in Verde Mountain

Estates, located at 28860 and 28830 Verde Mountain Trail in San Antonio. They paid

approximately $404,000 cash for the properties. Later, the Mellos would build a large home on the

28860 lot, a home that remains unfinished.



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                                        4051 Fossil Forest




       On July 24, 2017, just a few months after initiating the scheme, the Defendant and her

husband paid $678,500 cash for a home located at 4051 Fossil Forest Drive in the Stone Oak area.

This four bedroom and five bathroom 4,394 square foot home located in the gated Fossil Ridge

neighborhood was a major upgrade for the Mellos, who previously lived in a two bedroom and

three bathroom 1,900 square foot home. Interestingly, the Mellos removed the Defendant from the

closing documents to avoid any issues at closing stemming from her previously filed bankruptcy,

a sign of the Mellos’ relative sophistication in these types of matters.

       Interestingly, just two weeks before closing on the Fossil Forest home, as part of her

bankruptcy case, the Defendant completed a debtor education course and filed a certificate

indicating the same with the bankruptcy court.




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       The Defendant’s bankruptcy case was discharged by the bankruptcy court on August 7,

2017. The Government currently has no information indicating the Defendant reported to the

bankruptcy court the millions of dollars she had received to that point in 2017.

                           5524 Lemon Gulch Rd., Castle Rock, CO




       In October 2022, the Mellos purchased the property located at 5524 Lemon Gulch Road

in Castle Rock, Colorado. The property sits on thirty-five acres, is over 7,000 square feet and has

four bedrooms and four and a half bathrooms. In keeping with a theme at these larger properties

purchased by the Mellos, the home also boasted five garages. The Mellos paid $2.3 million cash




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for the property.2

                                    158 Acres Canyon Lake, Texas

        In November 2022, the Mellos paid $3.3 million cash for adjoining properties in Canyon

Lake, Texas. The two properties covered a total of 158 acres.

                                               Preston, MD




2
 All images are publicly available at https://www.realtor.com/realestateandhomes-detail/5524-Lemon-Gulch
Rd_Castle-Rock_CO_80108_M14995-07349
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       As the final jewel in their real estate crown, the Mellos purchased a sprawling 58-acre

estate in July 2023 in the rural farming community of Preston, Maryland. The estate included a

9,300 square foot, eight bedroom and twelve-bathroom home.3 The property also included multiple

garages, in which the Mellos apparently planned to house at least part of their extensive automobile

and motorcycle collection. The Mellos paid approximately $3.1 million cash for the property.

Fortunately, before the Mellos had much time to feast on this particular piece of criminal fruit,

agents with the IRS and Army Criminal Investigations Division (CID) executed a search warrant

at the Mello’s Fossil Forrest home in late August 2023.

Vehicles

       The Mellos’ purchases of homes with voluminous garage space was necessitated by their

rampant purchasing of vehicles. During the course of the scheme, the Mellos purchased a fleet of

at least eighty-two different vehicles, including cars, SUVs, motorcycles, and at least one

motorhome. When agents executed the search warrant at the Fossil Forest home in August 2023,

they found many of the vehicles with dead batteries due to the fact they had not been operated in

a significant amount of time. Photos of some of the vehicles purchased are included below. The

estimated value of the vehicles purchased is approximately $3.5 million.


3
 All images are publicly available at https://vimeo.com/756580716 and
https://www.realtor.com/realestateandhomes-detail/4218-Harmony-Rd_Preston_MD_21655_M93207-76571.
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         1905 Indian Prince - $37,000     1955 Ferrari Fratelli 165 Racer - $34,000




    1953 Maserati 125 GT Racer - $8,000           1966 BMW R69S - $34,000




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    1993 Land Rover Defender - $155,000   1911 Harley Davidson 7 Single – $65,000




  2023 Land Rover Range Rover $239,960     2022 Mercedes Benz GLS-63 - $130,000




  2018 Maserati Gran Turismo - $129,000     2023 Land Rover Defender - $129,000




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                              1954 Chevrolet Corvette - $120,000




Jewelry

       In addition to real estate and vehicles, the Defendant spent millions on high-end jewelry.

On December 4, 2022 alone, the Defendant spent over $923,000 on jewelry. Examples of some

of the pieces purchased are included below.




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                iii.    $108 Million in Context

        While the items referenced above give some perspective on the amount of money stolen

by the Defendant, it is difficult to wrap one’s head around the idea of $108 million. To provide

some perspective consider that in its fiscal year 2024 proposed budget, the Army included the

allocation of funds for the building of a Child Development Center at Fort Gordon, Georgia (now

Fort Eisenhower). According to the Child and Youth Services Garrison Leaders Guide, Child

Development Centers offer daycare services for young children, provide developmental activities,

and provide healthy meals, snacks and outdoor recreation.4 The listed cost for the building of the

Center was $21 million.5 The amount of money stolen by the Defendant was enough to build five

of these Centers.




4
  https://www.mwrbrandcentral.com/application/files/6916/3223/4748/CYS_Garrision_Commanders_7x8.5_SEP16.
pdf
5
  https://www.asafm.army.mil/Portals/72/Documents/BudgetMaterial/2024/Base%20Budget/Military%20Constructio
n/Regular%20Army%20Military%20Construction%20Army,%20Army%20Family%20Housing%20and%20Homeo
wners%20Assistance.pdf
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       Like any common criminal, the Defendant lied to and betrayed those closest to her in order

to get what she wanted. The Defendant used the money she stole to enrich herself, rather than

direct it to provide for the care and comfort of military-connected youth as intended. What makes

this case unique is the shockingly extravagant way in which the Defendant spent her ill-gotten

gains. This level of extravagance necessitates a commensurate sentence. Based on the nature and

circumstances of the offenses, including the methods employed, the amount stolen and how the

stolen funds were spent by the Defendant, a sentence of 235 months is appropriate.

   2. Seriousness of the Offense and Deterrence of Similar Criminal Conduct

       A sentence of 235 months is also appropriate because it shows the seriousness of the

offense and will deter similar conduct. The government is a tempting target for fraudsters. Some

of the largest cases in the San Antonio division involve individuals stealing money from the

government through various types of bribery and procurement schemes. It is important for the

public and for others who may commit these types of white-collar crimes to see that the proverbial

juice is not worth the squeeze. In other words, an individual planning to perpetrate a fraud scheme

should not see the possible criminal punishment as simply a cost of doing business. See United

States v. Hoffman, 901 F.3d 523, 556 (5th Cir. 2018), as revised (Aug. 28, 2018) (noting that

Congress, by creating the Sentencing Commission, sought to eliminate the belief that white collar

cases, as opposed to “blue collar” cases, were only punished with a relatively small fine and little

to no prison time).

       While the Defendant’s scheme did not involve as many participants and, while

sophisticated in its own way, may be not as complex as other schemes prosecuted in the San

Antonio Division, it remains one of the largest frauds in the history of this Division by loss amont.

The fact that a single individual executed this scheme should not affect the Court’s evaluation of


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the seriousness of the offense. The sentence here should send a message to the Defendant and

others that may commit fraud in the future that this type of fraud will not be tolerated and will be

punished harshly. A sentence of 235 months does just that.

   3. The Avoidance of Sentencing Disparities

       As noted above, the Defendant committed what may be the largest fraud by dollar amount

in the history of the San Antonio Division, if not the entire Western District of Texas. The sentence

imposed should reflect the same, and, when compared to recent sentences imposed in large fraud

schemes prosecuted in this Division, as well as sentences imposed on defendants in other districts

who executed schemes with large loss amounts, a sentence of 235 months is wholly appropriate.

                           U.S. v. Seguin, et al – 5:19-CR-00788-DAE

       Seguin and his co-defendants engaged in a procurement fraud scheme in which bribes were

paid to Seguin in exchange for the rewarding of U.S. Air Force contracts to businesses owned and

controlled by his co-conspirators. On April 24, 2023, Seguin was sentenced to 188 months

imprisonment and ordered to pay $37 million in restitution jointly and severally with his co-

defendants.

                               U.S. v. Pettit – 5:22-CR-00653-OLG

       In Pettit, the defendant, a lawyer, orchestrated a Ponzi scheme that victimized dozens of

people, including many of his close associates, making his crime especially egregious. While a

final determination as to the total loss attributable to the scheme is pending, the parties agreed the

loss is in the $20 million to $60 million range. On February 21, 2024, Judge Garcia sentenced

Pettit to 600 months imprisonment.

                         U.S. v. Borgesano, et al - 8:16-CR-00353-JSM

       In Borgesano¸ a case out of the Middle District of Florida, the defendants conspired to


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defraud Medicare, Tricare and private insurers through a prescription fraud scheme. The lead

defendant, Borgesano, was ordered to pay over $54 million in restitution. He was sentenced to a

total of 180 months in prison.

       While the facts in these cases are admittedly different than the facts in this case, the

amounts involved and the sentences imposed justify the 235-month sentence requested by the

Government here. Specifically, the restitution ordered in Seguin and Borgesano was far less than

the nearly $109 million the Defendant has agreed to here. Yet, the lead defendants in those cases

still received sentences of at least 180 months. Given the large loss in this case and considering

the fifty-year sentence handed down in Pettit, a sentence of 235 months is more than reasonable

and would avoid unwanted sentencing disparities.

   C. CONSIDERATION OF POTENTIAL RECOVERY

       The Court should not consider any potential recover by the Government in determining the

appropriate sentence in this case. The Government seized and the Defendant has agreed to forfeit

millions of dollars’ worth of cash, real estate, jewelry and vehicles purchased by the Defendant

during the course of her fraudulent conduct. While the Government could recover a significant

amount of what was stolen by the Defendant from the sale of these items, given market fluctuations

and other economic forces, there is no guarantee as to how much the Government will actually

recover. Additionally, it is the loss that is the primary determination for an appropriate sentence

because loss provides the clearest picture of a defendant’s criminal intent. It is this Defendant’s

criminal intent that is being punished here, and her intent remains the same regardless of any

recovery by the Government. Therefore, the Court should not consider any potential recovery by

the Government in determining the appropriate sentence in this case.

       The Sentencing Guidelines largely use loss amount to determine the appropriate offense


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level in cases of financial fraud. See Hoffman, 901 F.3d at 558 (citing U.S.S.G. § 2B1.1(a), (b)

app. note 3(A) & 3(A)(ii)). The loss amount includes not only the actual loss, but also the total

loss intended by the Defendant. Id. This is primarily because the intended loss gives the most

accurate picture of a defendant’s criminal intent. See Hoffman, 901 F.3d at 558 (noting that the

amount of loss intended by the defendant is the best measure of the defendant’s criminal intent for

purposes of sentencing, not the actual loss suffered by the victim, even when that victim is the

government).

        In Hoffman, the defendants engaged in a scheme to defraud the state of Louisiana. Hoffman,

901 F.3d at 532-35. The scheme involved tax credits issued by the state to businesses engaged in

the Louisiana film industry. Id. Approximately $6 million in tax credits were issued to the

defendants’ companies based on misrepresentations made by the defendants regarding expenses

incurred. Id. This was about $2 million more than the defendants should have received. Id. at 558.

The district court imposed a probation only sentence for each of the defendants, including the lead

defendant who had a calculated Guideline range of 168 to 210 months. Id. at 536, 555. The district

court reasoned that since the lead defendant’s prior conviction was a misdemeanor, he was in poor

health, and, most importantly, there was no real loss to the state of Louisiana, a probation only

sentence was appropriate. Id. at 556.

        The Fifth Circuit determined the trial court abused its discretion and granted a much larger

downward variance than was appropriate under the circumstances, even considering the mitigating

fact that the financial harm to the victim was minimal. Id. at 554, 559. The Fifth Circuit reasoned

that the District Court did not properly consider the Section 3553(a) factors as required. Id. at 556-

59. In particular, the Fifth Circuit noted that the trial court failed to properly consider the deterrent

effect of a probation-only sentence, the nature and circumstances of the offense, including the


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intended loss, and the calculated Guideline range. Id.

       Regarding the nature and circumstances of the offense and the loss amount in particular,

the Court determined the District Court erred in looking only to the actual loss sustained by the

state, which was minimal. Id. at 557-58. The Court noted that intended loss is the more accurate

measure of a defendant’s criminal intent, which is why the Guidelines direct courts to use intended

loss rather than actual loss when intended loss is higher. Id. at 558. Additionally, the Court

recognized Congress’s decision to criminalize the inchoate crime of attempt reflects its intent to

punish the full scope of a defendant’s criminal intent, even when no actual harm is suffered. Id.

Notably, the Court pointed out that “the state’s vigilance in discovering the circular transactions

and phony expenditures” should not work as a credit to the defendant. Id. at 559.

       Regarding the deterrent effect of a probation-only sentence, the Court noted that the Court

and Congress have both made clear their respective distaste for low sentences in white-collar cases.

Id. at 556 (citing United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006)) (sentencing white-

collar criminals to “‘little or no imprisonment . . . creates the impression that certain offenses are

punishable only by a small fine that can be written off as a cost of doing business.’”) Contrary to

crimes committed without much forethought or in the “heat of passion,” the calculated nature of a

white collar crime suggests that a person considering a white collar, criminal undertaking may take

the time to consider any potential punishment, making deterrence a factor that should be weighed

more heavily in white collar cases. Hoffman, 901 F.3d at 556. The Court also reasoned that low

sentences in white-collar cases give the impression that there are different systems of justice for

rich, white-collar defendants and poor “blue-collar” defendants, which undermines peoples’

confidence in the justice system. Id. at 557.

       Here, the Court should not impose anything less than a 235-month sentence, much less


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depart downward from the calculated Guideline range. As noted in Hoffman, the Court should

consider the intended loss, not the Government’s actual loss, because intended loss is the best

reflection of this Defendant’s culpability. Id. at 558. Agents’ detection of this crime and the

diligence of IRS agents, Army CID agents and attorneys and staff in the Asset Forfeiture and

Financial Litigation Units in the United States Attorney’s Office in recovering assets should not

be treated as some kind of credit to the Defendant, which is exactly what would happen if the Court

considers offsets the intended loss with the Government’s potential recovery in this case. Id. at

559 (“Only the state's vigilance in discovering the circular transactions and phony expenditures

kept it from being cheated out of the additional millions.”). Additionally, no consideration should

be given to the Defendant’s agreement to forfeit the assets purchased with her criminal proceeds,

except that to which she is entitled under the Guidelines because of her acceptance of

responsibility. See U.S.S.G. § 3E1.1(a), (b) App. Note 1(C), (E). Such considerations would not

fully account for the criminal intent of the Defendant, which is what is being punished here.

Hoffman, 901 F.3d at 558.

       This Defendant had many years to consider the consequences of her actions, and she chose

to move forward, getting more daring and requesting larger amounts as time went on. A person

considering the same or similar conduct should not be able to look at this case and determine any

risk is worth the reward. Accordingly, full consideration of the intended loss amount is proper, and

a sentence of 235 months is more than justified.

                                         CONCLUSION

       The Court should sustain its objection to the calculation of the Guideline range in the PSR

and impose a sentence of imprisonment of 235 months in this case, in addition to the restitution,

money judgment, and forfeiture agreed to by the parties and any term of supervised release


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recommended by Probation. The nature and circumstances of the offenses, including the

Defendant’s deceptive acts and extravagant spending necessitate the upward variance requested.

Additionally, such a punishment will avoid unwanted sentencing disparities given sentences

imposed in other large fraud schemes in this and other districts. Finally, the Defendant should not

receive a discount based on any potential recovery by the Government. Such consideration would

not properly account for the full scope of the Defendant’s criminal intent and would communicate

to the public and other would-be fraudsters that the risk of committing this type of crime may be

worth the reward. For these reasons, the Government requests that the Court impose a sentence of

imprisonment of 235 months.



                                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of July 2024, a true and correct copy of the foregoing
instrument was served via ECF.

                                              ____/s/______________________________
                                             JUSTIN R. SIMMONS
                                             Assistant United States Attorney



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